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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  MIKE BRINKMAN,

              Plaintiff,
  v.                                 Case No. 8:20-cv-1453-T-33AAS

  EQUIFAX INFORMATION SERVICES
  LLC and ACCOUNT RESOLUTION
  SERVICES, LLC,

            Defendants.
  ______________________________/

                     FAST-TRACK SCHEDULING ORDER

         Pursuant to Federal Rule of Civil Procedure 16, the Court

  finds it necessary to implement a schedule tailored to meet

  the particular circumstances of this case, which was brought

  under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

  seq. (FCRA). Therefore, consistent with the just, speedy and

  inexpensive administration of justice, see Fed. R. Civ. P. 1,

  it is:

         ORDERED that the provisions of Rule 26 (a)(1) and Local

  Rule     3.05   (c)(2)(B)   and    (d)   concerning    the    initial

  disclosures and filing of a Case Management Report are hereby

  waived in this case. Instead, the parties shall comply with

  the following schedule:




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        1.    No later than January 12, 2021, the parties shall

  serve upon each other but not file with the Court copies of

  the following:

        A.    Plaintiff1

        All documents in Plaintiff’s possession, custody, or

  control    that   relate    to   the   consumer    report,    adverse

  employment action, and/or disputed information at issue in

  this action, along with all documents and/or communications,

  whether sent or received, between Plaintiff and Defendant

  regarding the alleged violation.

        Upon furnishing the information to Defendant, Plaintiff

  shall file a Certificate of Compliance with the Court.

        B.    Defendant

        All documents in Defendant’s possession, custody, or

  control    that   relate    to   the   consumer    report,    adverse

  employment action, and/or disputed information at issue in

  this action, along with all documents and/or communications,

  whether sent or received, between Plaintiff and Defendant

  regarding the alleged violation.




  1 If there is more than one plaintiff or defendant, the
  singular reference to plaintiff or defendant shall include
  the plural.

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         Upon furnishing the information to Plaintiff, Defendant

  shall file a Certificate of Compliance with the Court.

         2.   Until further order of this Court, all discovery in

  this case is STAYED, except as necessary to obtain and provide

  the information set forth in Paragraph 1.

         3.   On    or    before    January   27,   2021,   Plaintiff   is

  directed to file an Answers to the Court’s Interrogatories.

  Thereafter, by February 11, 2021, Defendant is directed to

  file    Answers        to   the   Court’s    Interrogatories.    Those

  Interrogatories are attached to this Order.

         4.   This action is referred to mediation. The Court

  appoints Peter J. Grilli, located at 3001 West Azeele Street,

  Tampa, Florida 36609, (813) 874-1002, as mediator.

         5.   The mediation shall be conducted as outlined in

  this Order and Chapter Nine of the Local Rules.

         6.   Scheduling Mediation: The parties must mediate no

  later than March 15, 2021. However, the parties are not

  permitted to mediate until the information exchange outlined

  in this Order, including answers to interrogatories, has been

  completed.

         7.   Rescheduling Mediation: If the mediation date is

  approaching, and the parties realize they will not be able to

  complete the document exchange and interrogatory answers

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  called for herein, the parties are directed to file a motion

  to reschedule the mediation. In any event, once the mediation

  has     been    scheduled,    the    parties   may    not   unilaterally

  reschedule the mediation conference—a motion must be filed,

  and leave of Court obtained, if they seek to reschedule the

  mediation. In the motion to reschedule, counsel must include

  the proposed date of rescheduling; the Court reserves the

  right    to    deny   any   motion   that   seeks    to   reschedule   the

  mediation conference for a date beyond the deadline set in

  Paragraph 6. If the Court authorizes the parties to reschedule

  the mediation conference, the parties may still be required

  to pay the mediator’s cancellation fee. Thus, the parties are

  strongly encouraged to promptly exchange documents and answer

  interrogatories, as required herein, and to diligently adhere

  to all deadlines to avoid unnecessary expense.

          8.     Cancelling Mediation: Once the mediation conference

  is set, neither party may cancel the mediation without first

  obtaining leave of Court, even if the parties have reached a

  settlement.

          9.     Designation and Responsibility of Lead Counsel:

  Octavio Gomez, Esq., is designated as Lead Counsel and must

  consult both the mediator and other counsel to coordinate the

  day and time of the mediation. By November 27, 2020, Lead

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  Counsel must file a notice of mediation that states the agreed

  day and time of mediation. When the notice is filed, the

  agreed   day   for    the    mediation   replaces   the   deadline   in

  Paragraph (c). Extension of the mediation deadline requires

  a Court order and is increasingly disfavored as the mediation

  deadline approaches. Before moving for an extension of the

  mediation deadline, the movant must consult both the mediator

  and opposing counsel to determine an agreed day and time for

  the rescheduled mediation. Under Local Rule 3.01(g), a motion

  for an extension of the mediation deadline must certify that

  the movant has conferred with opposing counsel and must state

  whether counsel agrees to the resolution of the motion.

        10.   General Rules Governing the Mediation: Although

  mediation is governed by Chapter Nine of the Local Rules, the

  following additional requirements apply:

              (a)    Case Summary: At least five business days

              before the scheduled mediation, each party must

              email directly to the mediator and to opposing

              counsel a brief written summary of the facts and

              issues of the action. The mediator and the parties

              must     treat    each   summary   as    a    confidential

              communication and must not disclose the summary or

              the summary’s content.

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              (b)   Authority of the Mediator: The mediator may

              confer privately with any counsel, an individual

              party, a corporate or municipal representative, or

              a claims professional for any proper purpose in the

              mediator’s discretion. The mediation must continue

              until adjourned by the mediator. No participant may

              compel the early conclusion of a mediation because

              of travel or another engagement. Only the mediator

              may declare an impasse or end the mediation. To

              coordinate the mediation, the mediator may set an

              abbreviated    scheduling     conference      before    the

              mediation.

              (c)   Attendance:    The    Court   directs     that    all

              counsel, parties, corporate representatives, and

              any other required claims professionals shall be

              present   at   the   mediation   conference    with    full

              authority to negotiate a settlement. Absent exigent

              circumstances and leave of Court, lead counsel must

              appear at the mediation conference; failure to

              comply will result in the imposition of sanctions.

              The Court does not allow mediation by telephone or

              video conference.     Personal attendance is required.

              See Local Rule 9.05(c).

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              (d) For cases in which statutory attorneys’ fees

              may    be   claimed,   counsel   should   be   prepared   to

              discuss reasonable attorneys’ fees and should have

              that    information     in   hand    at   the    mediation

              conference.

        11.   Compensation of the Mediator: The parties must

  compensate the mediator at the mediator’s prevailing hourly

  rate, which, unless otherwise agreed by counsel, the parties

  must bear equally and pay immediately after the mediation.

  The parties must comply with the reasonable cancellation

  policy established by the Mediator, which states:

        When a case is cancelled or rescheduled with less
        than fourteen (14) days notice, [the Mediator] will
        bill all sides equally for the Minimum Charge for
        the time reserved unless the parties have agreed
        otherwise. Time of notice is computed as under Rule
        6, Fed. R. Civ. P. [The Mediator does] not waive
        cancellation/rescheduling   charges   unless   [the
        Mediator is] able to book another case in the
        reserved time slot. Cancellation or rescheduling
        should be confirmed in writing (email or fax is
        sufficient) to all parties. Please inform [the
        Mediator] immediately of any motion which may
        result in the re-scheduling of the mediation, or of
        any negotiation which might make the mediation
        unnecessary.

        12.   Results of Mediation: Lead Counsel must file a

  notice informing the Court of the results of the mediation

  conference within twenty-four hours from the conclusion of

  the mediation conference.

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        13.    Case Management Report and Additional Information:

  In the event mediation does not result in settlement of this

  action, the parties must conduct a case management meeting

  immediately after the mediation conference, during which the

  parties shall jointly prepare the attached fast-track case

  management report. The parties shall file the completed fast-

  track case management report within twenty-four hours of the

  conclusion of the mediation conference. In addition, the

  parties shall file a separate notice also within twenty-four

  hours of the conclusion of the mediation conference informing

  the Court of the legal issues they believe will need to be

  resolved at the summary judgment stage and/or the factual

  matters they believe will be at issue during trial.

        14.    After    review      of    the     parties’    fast-track      case

  management    report,      the    Court        will    determine   if   a   Case

  Management Hearing is required. If a Case Management Hearing

  is    required,      the    Court        will     conduct     such      hearing

  approximately        one   week        after     the    parties’     mediation

  conference. The Court will enter a notice indicating the

  date and time of the hearing. Counsel are advised that this

  case will be set for trial approximately 90-120 days after

  the mediation conference. At the Case Management Hearing,

  this Court will address any scheduling conflicts the parties

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  may have.

        15.   Absent compelling circumstances and leave of Court,

  lead counsel must appear in person at the Case Management

  Hearing. Lead Counsel must be prepared to discuss the claims

  and defenses as well as any unique aspects of the case with

  the Court. This hearing is an investment of the Court’s time

  and presents an opportunity for counsel to meet the judge

  presiding over their case, as well as present any issues that

  should be called to the Court’s attention.

        DONE and ORDERED in Chambers, in Tampa, Florida on this

  29th day of October, 2020.




  Attachments:
  Court’s Interrogatories
  Magistrate Judge Consent Form
  CMR form for Fast Track Cases




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                 COURT’S INTERROGATORIES TO PLAINTIFF

   1.    Are   you   alleging  willful   noncompliance   with   a
         requirement imposed by the Fair Credit Reporting Act, 15
         U.S.C. § 1681, et seq. (FCRA)?
   2.    If you answered yes to number 1, itemize your actual
         damages sustained as a result of the alleged failure to
         comply, or indicate your election of statutory damages.
   3.    If you answered yes to number 1, and only if you are
         seeking to impose liability on a natural person for
         obtaining a consumer report under false pretenses or
         knowingly without a permissible purpose, itemize your
         actual damages sustained as a result of the alleged
         failure to comply, or indicate your election of
         statutory damages.
   4.    If you answered yes to number 1, and only if you are a
         credit reporting agency seeking to impose liability on
         a person who obtained a consumer report under false
         pretenses or knowingly without a permissible purpose,
         itemize your sustained actual damages.
   5.    Are you alleging negligent noncompliance with a
         requirement imposed by the FCRA?
   6.    If you answered yes to number 5, itemize your actual
         damages sustained as a result of the alleged failure to
         comply.
   7.    Specify all attorney’s fees and costs incurred to date.
         With respect to attorney’s fees, provide the hourly
         rate(s) sought and the number of hours expended by each
         person who has billed time to this case.
   8.    State the date on which you discovered the alleged
         violation that forms the basis of this action.
   9.    State the date on which the alleged violation that forms
         the basis of this action occurred.
   10.   Are you seeking or do you intend to seek class
         certification in this action? If so, briefly describe
         the putative class.
   11.   What section(s) of the FCRA are you alleging were
         violated by Defendant?
   12.   If you allege a violation of 15 U.S.C. § 1681(b):
         (a) Were you a job applicant or a current employee of
         Defendant at the time Defendant took the alleged adverse
         employment action?
         (b) Did you ever receive a disclosure from Defendant
         indicating that Defendant may procure, or cause to be


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         procured, a consumer report? If so, when and by what
         means?
         (c) Did you ever authorize, in writing, Defendant to
         procure, or cause to be procured, a consumer report?
         (d) If you were a job applicant for a position over
         which the Secretary of Transportation has the power to
         establish qualification and maximum hours of service
         pursuant to section 31502 of Title 49, or a position
         subject to safety regulation by a State transportation
         agency, was your only contact with the person who
         procured, or caused to be procured, the consumer report
         by mail, telephone, computer, or other similar means?
         (e) When was the alleged adverse employment action
         taken by Defendant?
         (f) What was the alleged adverse employment action?
         (g) When, if at all, did you receive a copy of the
         consumer report that Defendant relied on, in whole or in
         part, to take the alleged adverse employment action?
         (h) When, if at all, did you receive a description, in
         writing, of your rights under the FCRA, as prescribed by
         the Bureau of Consumer Financial Protection under §
         1681g(c)(3)?
         (i) Does the consumer report that was used, in whole or
         in part, as the basis for the adverse employment action
         contain medical information, as defined in 15 U.S.C. §
         1681a(i)?
         (j) If you answered yes to 12(i), did you provide
         specific written consent for the furnishing of the
         consumer report that described in clear and conspicuous
         language the use for which the information will be
         furnished?
   13.   If you allege a violation of 15 U.S.C. § 1681c,
         specifically identify the information you contend should
         not have been included within the consumer report.
   14.   If you allege a violation of 15 U.S.C. § 1681i:
         (a) What information in the consumer report do you
         contend is inaccurate, incomplete, or unverifiable?
         (b) Did you notify, directly or indirectly, the
         consumer reporting agency of your dispute? If so, when
         and by what means?
         (c) Did you receive a notice from the Defendant
         consumer reporting agency that it had determined your
         dispute was frivolous or irrelevant? If so, when did you
         receive such notification and by what means?


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         (d) If you received a notice that your dispute was
         determined to be frivolous or irrelevant, what
         information did the notification contain?
         (e) Was information that was deleted from a consumer
         report after a reinvestigation prompted by your dispute
         reinserted into the consumer report?
         (f) If you answered yes to 14(e), when did you receive
         notice of the reinsertion and by what means?
         (g) If you received a notice of reinsertion referenced
         in 14(e), what information did the notification contain?
         (h) When, if at all, did you receive notice of the
         consumer   reporting   agency’s    completion   of   its
         reinvestigation prompted by your dispute?
         (i) If you received a notice described in 14(h), what
         information did the notification contain and by what
         means were you notified?
         (j) Did you request from the consumer reporting agency
         a description of its procedure to determine the accuracy
         and completeness of the information disputed by you?
         (k) If you answered yes to 14(j), when, if at all, did
         you receive the description referenced in 14(j)?
         (l) If you filed a statement of dispute with the
         consumer reporting agency:
              (I). When did you file your statement of dispute
              with the consumer reporting agency; and
              (II). What consumer reports issued subsequent to
              the filing of your statement of dispute referenced
              in 14(l)(I) do not contain your statement or an
              accurate summary thereof?
         (m) Did you request and designate any person to receive
         notice that an item on your consumer report has been
         deleted or to receive your statement of dispute or
         summary thereof? If so, when?
         (n) If you answered yes to 14(m), list any such person
         and the date on which said person received a consumer
         report containing the deleted information.
         (o) If you are suing a reseller, as defined by 15 U.S.C.
         § 1681a(u):
              (I). When did you notify the reseller of your
              dispute;
              (II). What information did you dispute;
              (III). If you allege the reseller referred the
              dispute to a consumer reporting agency for
              reinvestigation, correction, or removal, when, if
              at all, did you receive notice of the completion of

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              the reinvestigation, by what means, and               what
              information did the notification contain?


                          _________________________________
                               (Plaintiff’s Signature)

   STATE OF FLORIDA
   COUNTY OF __________________

        BEFORE ME, the undersigned authority, on this day,
   personally appeared ________________________________, who
   being first duly sworn, and ____ who is personally known to
   me or ____ who produced _________ as identification,
   deposes and says that he/she has read the foregoing Answers
   to Interrogatories, knows the contents of same, and to the
   best of his/her knowledge and belief, the same are true and
   correct.

        SWORN TO AND SUBSCRIBED before me on this _______ day
   of_______, 20___.


                                                   NOTARY PUBLIC

                              ______________________________
                    Signature of Person Taking Acknowledgment

   Notary Stamp                       Print Name:
                                      Title: Notary Public
                                      Serial No. (if any):
                                      Commission Expires:




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                 COURT’S INTERROGATORIES TO DEFENDANT

   1.    If Plaintiff is alleging a violation of 15 U.S.C. §
         1681b:
         (a) Did you, or the person who obtained the consumer
         report on your behalf, make the certifications required
         under 15 U.S.C. § 1681b(b)(1)?
         (b) Did you ever provide a disclosure to Plaintiff
         indicating that you may procure, or cause to be procured,
         a consumer report? If so, when and by what means?
         (c) Did Plaintiff ever authorize, in writing, you to
         procure, or cause to be procured a consumer report? If
         so, when did you receive such authorization?
         (d) If Plaintiff was a job applicant for a position
         over which the Secretary of Transportation has the power
         to establish qualification and maximum hours of service
         pursuant to section 31502 of Title 49, or a position
         subject to safety regulation by a State transportation
         agency, was your only contact with Plaintiff by mail,
         telephone, computer, or other similar means?
         (e) When did you take the adverse employment action
         against Plaintiff?
         (f) When did you provide Plaintiff with a copy of the
         consumer report used, in whole or in part, as the basis
         of the adverse employment action?
         (g) When and how did you provide Plaintiff a written
         description of his or her rights under the FCRA, as
         prescribed by the Bureau under § 1681g(c)(3)?
   2.    If Plaintiff alleges a violation of 15 U.S.C. § 1681i:
         (a) When, if at all, did Plaintiff notify you, directly
         or indirectly, that Plaintiff disputed the accuracy,
         completeness, or the ability to verify information
         contained in a consumer report?
         (b) If Plaintiff disputed some information in the
         consumer report, what information did Plaintiff dispute?
         (c) If you determined that Plaintiff’s dispute was
         frivolous or irrelevant, did you notify Plaintiff as
         such? If so, when and how?
         (d) If you sent a notice to Plaintiff informing
         Plaintiff his or her dispute was determined to be
         frivolous or irrelevant, what information did the
         notification contain?
         (e) Was information ever deleted from a consumer report
         issued by you that pertained to Plaintiff because of a
         dispute made by Plaintiff?

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        (f) If you answered yes to 2(e), was the information
        referred to in 2(e) ever reinserted into the consumer
        report pertaining to Plaintiff?
        (g) If you answered yes to 2(f), when and by what means
        did you send Plaintiff notification of the reinsertion
        referenced in 2(f)?
        (h) If you sent Plaintiff a notification referenced in
        2(g), what information did the notification contain?
        (i) Did Plaintiff ever request a description of the
        procedure you used to determine the accuracy or
        completeness of information disputed by Plaintiff?
        (j) If you answered yes to 2(i), when, if at all, and
        how did you send Plaintiff a description of the procedure
        referred to in 2(i)?
        (k) Did Plaintiff ever file a statement of dispute with
        you? If so, when and how?
        (l) If Plaintiff ever filed a statement of dispute with
        you, did any subsequently issued consumer report not
        contain the statement of dispute or an accurate summary
        thereof?
        (m) Did Plaintiff ever request and designate any person
        to receive notice that an item on a consumer report
        pertaining to Plaintiff had been deleted or to receive
        Plaintiff’s statement of dispute or summary thereof?
        (n) If you answered yes to 2(m), when did Plaintiff
        make such request?
        (o) If you answered yes to 2(m), list any such person
        and the date on which said person received a consumer
        report containing the deleted information.
        (p) If you are a reseller, as defined by 15 U.S.C. §
        1681a(u):
              (I). When   did  you    receive   notification   of
              Plaintiff’s dispute;
             (II). What information did Plaintiff dispute;
              (III). If you referred the dispute to a consumer
              reporting agency for reinvestigation, correction,
              or removal, when, if at all, did you forward the
              consumer reporting agency’s notice of completion
              as to the reinvestigation, by what means, and what
              information did the notification contain?
   3.   Regardless of which section of the FCRA Plaintiff
   alleges you violated, do you claim any exemption or exception
   that may be available under the FCRA in this action? If so,
   specifically identify the exemption or exception and state
   the factual basis for claiming such exemption or exception.

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                          _________________________________
                               (Defendant’s Signature)

   STATE OF FLORIDA
   COUNTY OF __________________

        BEFORE ME, the undersigned authority, on this day,
   personally appeared ________________________________, who
   being first duly sworn, and ____ who is personally known to
   me or ____ who produced _________ as identification,
   deposes and says that he/she has read the foregoing Answers
   to Interrogatories, knows the contents of same, and to the
   best of his/her knowledge and belief, the same are true and
   correct.

        SWORN TO AND SUBSCRIBED before me on this _______ day
   of_______, 20___.



                                                   NOTARY PUBLIC

                              ______________________________
                    Signature of Person Taking Acknowledgment

   Notary Stamp                       Print Name:
                                      Title: Notary Public
                                      Serial No. (if any):
                                      Commission Expires:




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AO 85 (Rev. locally 5/99) Notice, Consent, and Order of Reference B Exercise of Jurisdiction by a United States Magistrate Judge

                                                  UNITED STATES DISTRICT COURT
                                                       Middle District of Florida

_____________________________________,

Plaintiff(s)

v.                                                                                Case Number: ____________________________

_____________________________________,

Defendant(s)

         NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE TO EXERCISE JURISDICTION

       In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, you are hereby notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings in this case, including a jury or bench trial, and to
order the entry of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is, however, permitted only if all parties voluntarily
consent, as evidenced by execution of the Consent portion hereof, all together on this form, to the exercise of jurisdiction by a United
States Magistrate Judge.

      You may, without adverse substantive consequences, withhold your consent; but this will prevent the Court's jurisdiction from being
exercised by a Magistrate Judge. If any party withholds consent, the identity of the parties consenting or withholding consent will not be
communicated to any Magistrate Judge or to the District Judge to whom the case has been assigned.

      Appeal from a judgment entered by a Magistrate Judge shall be taken directly to the United States Court of Appeals for the Eleventh
Circuit, in the same manner as an appeal from any other judgment of this District Court.

               CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

     In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties in this case hereby voluntarily consent to
have a United States Magistrate Judge conduct any and all further proceedings in the case, including the trial; order the entry of a final
judgment; and conduct all post-judgment proceedings, as necessary.

Signatures                                       Parties Represented                                                     Date Signed
____________________________             ____________________________________________                            ____________________

____________________________             ____________________________________________                            ____________________

____________________________             ____________________________________________                            ____________________

                                                         ORDER OF REFERENCE

IT IS HEREBY ORDERED that this case be referred to Honorable, __________________________________, United States
Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73,
and the foregoing consent of the parties.

_____________________                              ________________________________________________________________
Date                                               VIRGINIA M. HERNANDEZ COVINGTON, United States District Judge

NOTE: RETURN THIS FORM TO CLERK OF COURT ONLY IF ALL PARTIES HAVE SIGNED ON
THIS FORM CONSENTING TO EXERCISE OF JURISDICTION BY A MAGISTRATE JUDGE.




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                                  United States District Court
                                   Middle District of Florida
                                       Tampa Division
   __________________________________,
   Plaintiff(s),

   v.                                                         Case No. ______________________________

   __________________________________,
   Defendant(s).
   ______________________________________________/

                                            CASE MANAGEMENT REPORT

                                      TO BE USED FOR THE FOLLOWING CASES:
                                         FAIR LABOR STANDARDS ACT (FLSA);
                                  TITLE III AMERICANS WITH DISABILITIES ACT (ADA);
                                  FAIR DEBT COLLECTION PRACTICES ACT (FDCPA);
                                  TELEPHONE CONSUMER PROTECTION ACT (TCPA);
                              FLORIDA CONSUMER COLLECTION PRACTICES ACT (FCCPA);
                              REAL ESTATE SETTLEMENT PROCEDURES ACT (RESPA); AND
                                         FAIR CREDIT REPORTING ACT (FCRA).

           The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ. P. 26(f)

   and Local Rule 3.05(c):

                                      DEADLINE OR EVENT
                                                                                                     AGREED DATE
    Certificate of Interested Persons and Corporate Disclosure Statement

    Mandatory Initial Disclosures

    Discovery Deadline

    Dispositive Motions

    Meeting In Person to Prepare Joint Final Pretrial Statement

    Joint Final Pretrial Statement
    [Including a Single Set of Jointly-Proposed Jury Instructions and Verdict Form, Voir Dire
    Questions, Witness Lists, & Exhibit Lists with Objections on Approved Form (to be e-mailed
    in Word format to chambers_flmd_covington@flmd.uscourts.gov)]
    Final Pretrial Conference
    [The Court will set a date]
    Trial Term Begins
    [Trial term must be 5 weeks after dispositive motions deadline (unless filing of such
    motions is waived); district judge trial terms begin on the first Monday of each month; trials
    before magistrate judges will be set on a date certain after consultation with the parties]
    [90-120 days after mediation conference]
    Estimated Length of Trial
    [Number of trial days]

    Jury / Non-Jury




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